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AO I 06A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means



                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Southern District of California

              In the Matter of the Search of                                  )
                                                                                                         '22 MJ02961
         (Briefly describe the property to be searched                        )
          or identify the person by name and address)                         )              Case No.
                    Samsung SM-A526U                                          )
                   2022250400169001-004                                       )
                   ("Target Device 1")                                        )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A-1, incorporated herein by reference.
                           Southern               District of        California
located in the
                                                                 ----- - - - - - - - , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 l'lJ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                         Offense Description
        21 USC Sec. 952 and 960                    Importation of a Controlled Substance
        21 USC Sec. 963                            Conspiracy to Import

          The application is based on these facts:
        See Attached Affidavit, incorporated herein by reference.

           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days:   _ _ _ _ _ ) is requested under
             18 U.S .C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                 ciSratM~A
                                                                                                        Applicant's signature

                                                                                               Robin Tannehill, HSI Special Agent
                                                                                                        Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:         Auqust 18, 2022
                                                                                                          Judge 's signattle

City and state: San Diego, California                                               Hon. William V. Gallo, United States Magistrate Judge
                                                                                                        Printed name and title
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 1                                          AFFIDAVIT
 2         I, Special Agent Robin Tannehill, being duly sworn, hereby state as follows:
 3                                       INTRODUCTION
 4         1.     I submit this affidavit in support of an application for a warrant to search the
 5 following electronic device(s), (Collectively, the "Target Devices"):
 6
                         Samsung SM-A526U
 7                       Seizure No. 2022250400169001-004
                         ("Target Device 1")
 8
 9                       Samsung Galaxy Note 5 SM-N920V
10                       Seizure No. 2022250400169001-004
                         ("Target Device 2")
11
12
     as further described in Attachment A-land A-2, and to seize evidence of crimes,
13
     specifically violations of Title 21, United States Code, Sections 952, 960, and 963 as
14
     further described in Attachment B. The requested warrant relates to the investigation and
15
     prosecution of Maria Guadalupe CHAVEZ ("The Defendant") for importing
16
     approximately 4.9 kilograms (10.8 pounds) of methamphetamine from Mexico into the
17
     United States. The Target Devices are currently in the custody of Homeland Security
18
     Investigations and located at 880 Front Street, Suite 3200, San Diego, California 92101.
19
           2.     The information contained in this affidavit is based upon my training,
20
     expenence, investigation, and consultation with other members of law enforcement.
21
     Because this affidavit is made for the limited purpose of obtaining a search warrant for the
22
     Target Devices, it does not contain all the information known by me or other agents
23
     regarding this investigation. All dates and times described are approximate.
24
25
                                         BACKGROUND
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27         3.     I have been employed as a Special Agent with Homeland Security
28 Investigations (HSI) since February of 2007. I am currently assigned to the HSI Office of
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 1 the Special Agent in Charge, in San Diego, California. I am a graduate of the Federal Law
 2 Enforcement Training Center in Glynco, Georgia.
 3         4.     During my tenure with HSI, I have participated in the investigation of various
 4 narcotics trafficking organizations involved in the importation and distribution of
 5 controlled substances into and through the Southern District of California. Through my
 6 training, experience, and conversations with other law enforcement officers experienced in
 7 narcotics trafficking investigations, I have gained a working knowledge of the operational
 8 habits of narcotics traffickers, in particular those who attempt to import narcotics into the
 9 United States from Mexico at Ports of Entry.
1O         5.     I am aware that it is common practice for narcotics traffickers to work in
11 concert utilizing cellular telephones. A common tactic utilized by narcotics traffickers is
12 to smuggle controlled substances into the United States from Mexico by concealing the
13 controlled substances in vehicles or on persons entering the United States at Ports of Entry
14 such as the San Ysidro Port of Entry and the Otay Mesa Port of Entry. With respect to the
15 importation of narcotics in this manner, I am aware that narcotics traffickers in Mexico
16 frequently communicate with the individual responsible for importing the concealed
17 narcotics into the United States. These communications can occur before, during and after
18 the narcotics are imported into the United States. For example, prior to the importation,
19 narcotics traffickers     frequently   communicate with the transporter( s)          regarding
20 arrangements and preparation for the narcotics importation. When the importation is
21 underway, narcotics traffickers frequently communicate with the transporter(s) to remotely
22 monitor the progress of the narcotics, provide instructions and warn accomplices about law
23 enforcement activity. When the narcotics have been imported into the United States,
24 narcotics traffickers may communicate with the transporter(s) to provide further
25 instructions regarding the delivery of the narcotics to a destination within the United States.
26
27         6.     Based upon my training, experience, and consultations with law enforcement
28 officers experienced in narcotics trafficking investigations, and all the facts and opinions
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 1 set forth in this affidavit, I am aware that cellular telephones (including their SIM card(s))
 2 can and often do contain electronic evidence, including, for example, phone logs and
 3 contacts, voice and text communications, and data, such as emails, text messages, chats
 4 and chat logs from various third-party applications, photographs, audio files, videos, and
 5 location data. This information can be stored within disks, memory cards, deleted data,
 6 remnant data, slack space, and temporary or permanent files contained on or in the cellular
 7 telephone. Specifically, searches of cellular telephones of individuals involved in the
 8 importation of narcotics may yield evidence:
 9
          a.     tending to indicate efforts to import controlled substances from Mexico
10               into the United States;
11
          b.     tending to identify accounts, facilities, storage devices, and/or services-
12               such as email addresses, IP addresses, and phone numbers-used to
13               facilitate the importation of controlled substances from Mexico into the
                 United States;
14
15        C.     tending to identify co-conspirators, criminal associates, or others involved
                 in importation of controlled substances from Mexico into the United
16               States;
17
          d.     tending to identify travel to or presence at locations involved in the
18               importation of controlled substances from Mexico into the United States,
19               such as stash houses, load houses, or delivery points;

20        e.     tending to identify the user of, or persons with control over or access to,
21               the Target Devices; and/or

22        f.     tending to place in context, identify the creator or recipient of, or establish
23               the time of creation or receipt of communications, records, or data involved
                 in the activities described above.
24
25
                         FACTS SUPPORTING PROBABLE CAUSE
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27        7.     On August 17, 2022 at approximately 7: 13 a.m. Maria Guadalupe CHAVEZ
28 ("CHAVEZ"), a United States citizen, applied for entry into the United States from
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 1 Mexico through the San Ysidro POE in vehicle lane 27 A. CHAVEZ was the driver, sole
 2 occupant, and registered owner of a 2016 Ford Escape ("the vehicle") bearing California
 3 license plates.
 4         8.    Inspection of the vehicle at primary inspection resulted in the discovery of
 5 12 packages concealed in a black handbag located in plain view on the vehicle's back
 6 seat with a total approximate weight of 4.9 kgs (10.8 lbs). A sample of the substance
 7 contained within the packages field tested positive for the characteristics of
 8 methamphetamine.
 9         9.    Officers arrested CHAVEZ at approximately 9:32 a.m.
10         10.   During a post-Miranda interview, CHAVEZ admitted that she placed the
11 methamphetamine laden handbag on the vehicle's back seat, suspecting after
12 manipulating them, that the packages in the handbag contained methamphetamine.
13 CHAVEZ then intended to import the narcotics into the United States. CHAVEZ planned
14 to drive the narcotics to Los Angeles, California and sell them there.
15         11.   CHAVEZ was charged with a violation of Title 21, United States Code, 952
16 and 960, importation of a controlled substance.
17         12.   The Target Devices were found and seized by a Customs and Border
18 Protection Officer (CBPO) who was tasked to perform a secondary inspection of the
19 Vehicle and inventory all the property seized from the Defendant and her Vehicle. During
20 the interview, Defendant was shown the Target Devices and identified the Target Devices

2 l as belonging to her.
22         13. Based upon my expenence and training, consultation with other law
23 enforcement officers experienced in narcotics trafficking investigations, and all the facts
24 and opinions set forth in this affidavit, I believe that telephone numbers, contact names,
25 electronic mail (email) addresses, appointment dates, messages, pictures, and other digital
26 information are stored in the memory of the Target Devices. In light of the above facts and
27 my experience and training, there is probable cause to believe that the Defendants were
28 using the Target Devices to communicate with others to further the importation of illicit
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 1 narcotics into the United States. Further, in my training and expenence, narcotics
 2 traffickers may be involved in the planning and coordination of a drug smuggling event in
 3 the days and weeks prior to an event. Co-conspirators are also often unaware of a
 4 defendant's arrest and will continue to attempt to communicate with a defendant after their
 5 arrest to determine the whereabouts of the narcotics. Based on my training and experience,
 6 it is also not unusual for individuals, such as the Defendants, to attempt to minimize the
 7 amount of time they were involved in their smuggling activities, and for the individuals to
 8 be involved for weeks and months longer than they claim. Accordingly, I request
 9 permission to search the Target Devices for data beginning on July 18, 2022 up to and
10 including August 17, 2022.
11                                      METHODOLOGY
12         14.    It is not possible to determine, merely by knowing the cellular telephone's
13 make, model and serial number, the nature and types of services to which the device is
14 subscribed and the nature of the data stored on the device. Cellular devices today can be
15 simple cellular telephones and text message devices, can include cameras, can serve as
16 personal digital assistants and have functions such as calendars and full address books and
17 can be mini-computers allowing for electronic mail services, web services and rudimentary
18 word processing. An increasing number of cellular service providers now allow for their
19 subscribers to access their device over the internet and remotely destroy all of the data
20 contained on the device. For that reason, the device may only be powered in a secure
21   environment or, if possible, started in "flight mode" which disables access to the network.
22 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
23 equivalents and store information in volatile memory within the device or in memory cards
24 inserted into the device. Current technology provides some solutions for acquiring some of
25 the data stored in some cellular telephone models using forensic hardware and software.
26 Even if some of the stored information on the device may be acquired forensically, not all
27 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
28 data acquisition or that have potentially relevant data stored that is not subject to such
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 1 acquisition, the examiner must inspect the device manually and record the process and the
 2 results using digital photography. This process is time and labor intensive and may take
 3 weeks or longer.
 4           15.   Following the issuance of this warrant, I will collect the Target Devices and
 5 subject them to analysis. All forensic analysis of the data contained within the telephone
 6 and its memory cards will employ search protocols directed exclusively to the
 7 identification and extraction of data within the scope of this warrant.
 8           16.   Based on the foregoing, identifying and extracting data subject to seizure
 9 pursuant to this warrant may require a range of data analysis techniques, including manual
10 review, and, consequently, may take weeks or months. The personnel conducting the
11   identification and extraction of data will complete the analysis within ninety (90) days of
12 the date the warrant is signed, absent further application to this court.
13
14                       PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
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16           17.   Law enforcement has not previously attempted to obtain the evidence sought
17 by this warrant.
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     II
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 I                                       CONCLUSION
 2        18.    Based on the facts and information set forth above, I submit there is probable
 3 cause to believe that a search of the Target Devices will yield evidence of the Defendants
 4 violations of Title 21, United States Code, Sections 952, 960 and 963. Accordingly, I
 5 request that the Court issue a warrant authorizing law enforcement to search the items
 6 described in Attachment A-land A-2, and seize the items listed in Attachment Busing the
 7 above-described methodology.
 8 I swear the foregoing is true and correct to the best of my knowledge and belief.
 9
10
11
                                           Speci~nnehill
                                           Homeland Security Investigations
12
13 Sworn and attested to under oath by telephone, in accordance with Federal Rule of
   Criminal Procedure 4.1, this 18th day of August 2022.
14

1s    w~v.~
16 Hon. William V. Gallo
17 United States Magistrate Judge

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                               ATTACHMENT A-1

                         PROPERTY TO BE SEARCHED

The following property is to be searched:

      Samsung SM-A526U
      Seizure No. 2022250400169001-004
      ("Target Device 1")

The Target Device is currently in the possession of Homeland Security
Investigations, located at 880 Front Street, Suite 3200, San Diego, California
92101.
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                                ATTACHMENT B
                              ITEMS TO BE SEIZED

       Authorization to search the cellular telephones described in Attachments A-1
and A-2 includes the search of disks, memory cards, deleted data, remnant data, slack
space, and temporary or permanent files contained on or in the cellular telephone for
evidence described below. The seizure and search of the cellular telephone shall
follow the search methodology described in the affidavit submitted in support of the
warrant.

       The evidence to be seized from the cellular telephone will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of July 18, 2022 up to and including August 17, 2022:

      a.     tending to indicate efforts to import controlled substances from Mexico
             into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of controlled substances from Mexico into the
             United States;

      c.     tending to identify co-conspirators, criminal associates, or others
             involved in importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation controlled substances from Mexico into the United States,
             such as stash houses, load houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access
             to, the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records, or
             data involved in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960
and 963.
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                               ATTACHMENT A-2

                         PROPERTY TO BE SEARCHED

The following property is to be searched:

      Samsung Galaxy Note 5 SM-N920V
      Seizure No. 2022250400169001-004
      ("Target Device 2")

The Target Device is currently in the possession of Homeland Security
Investigations, located at 880 Front Street, Suite 3200, San Diego, California
92101.
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                                ATTACHMENT B
                              ITEMS TO BE SEIZED

       Authorization to search the cellular telephones described in Attachments A-1
and A-2 includes the search of disks, memory cards, deleted data, remnant data, slack
space, and temporary or permanent files contained on or in the cellular telephone for
evidence described below. The seizure and search of the cellular telephone shall
follow the search methodology described in the affidavit submitted in support of the
warrant.

       The evidence to be seized from the cellular telephone will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of July 18, 2022 up to and including August 17, 2022:

      a.     tending to indicate efforts to import controlled substances from Mexico
             into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of controlled substances from Mexico into the
             United States;

      c.      tending to identify co-conspirators, criminal associates, or others
            · involved in importation of methamphetamine, or some other federally
              controlled substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation controlled substances from Mexico into the United States,
             such as stash houses, load houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access
             to, the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records, or
             data involved in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960
and 963.
